UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-shl
      1
INC. ,
                                                               :
                           Debtor.                             :
---------------------------------------------------------------X

                                       CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                          )
                                                 )
    COUNTY OF LOS ANGELES                        )

         I, Oliver Carpio, am over the age of eighteen years and am employed by Pachulski Stang

Ziehl & Jones LLP, located at One Sansome Street, 34th Floor, Suite 3430, San Francisco, CA

94104-4436. I am not a party to the above-captioned case.

         On June 19, 2023, in addition to service via the Court’s ECF system, I caused a true and

correct copy of the following documents to be served via electronic mail upon the parties set forth

on the service list annexed hereto as Exhibit 1 and via U.S. Mail, first class postage, delivery upon

the parties set forth on the service list annexed hereto as Exhibit 2.

        JOINDER OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
         IN SUPPORT OF DEBTOR’S (I) MEMORANDUM OF LAW IN SUPPORT OF
         (A) FINAL APPROVAL OF DEBTOR’S DISCLOSURE STATEMENT AND
         (B) CONFIRMATION OF FIRST AMENDED CHAPTER 11 PLAN OF
         REORGANIZATION OF MADISON SQUARE BOYS & GIRLS CLUB, INC.
         AND (II) REPLY TO OBJECTIONS THERETO

         I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.
Dated this 19th day of June 2023.
                                                              /s/Oliver Carpio
                                                              Oliver Carpio



1
 The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
Bradhurst Avenue, New York, New York 10039.
DOCS_SF:109079.1 54162/004
                                          EXHIBIT 1


                                           Via Email

              NAME                     NOTICE NAME                        EMAIL
PAUL, WEISS, RIFKIND, WHARTON    ALAN K. KORNBERG             AKORNBERG@PAULWEISS.COM
& GARRISON LLP                   ANDREW M. PARLEN             APARLEN@PAULWEISS.COM
                                 JOHN T. WEBER                JWEBER@PAULWEISS.COM
                                 SHAFAQ HASAN                 SHASAN@PAULWEISS.COM

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                                 ANDREA B SCHWARTZ            ANDREA.B.SCHWARTZ@USDOJ.GOV
                                 TARA TIANTIAN                TARA.TIANTIAN@USDOJ.GOV




    DOCS_SF:109079.1 54162/004
                                         EXHIBIT 2

                                        via U.S. Mail


Mr. Tim McChristian
c/o Madison Square Boys and Girls Club, Inc.
250 Bradhurst Avenue
New York, NY 10039




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